






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00394-CR


NO. 03-10-00395-CR







Steven Paul Wilson, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF LEE COUNTY, 21ST JUDICIAL DISTRICT


NOS. 7004 &amp; 7036, HONORABLE REVA TOWSLEE CORBETT, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Steven Paul Wilson pleaded guilty and judicially confessed to committing
aggravated assault against a public servant (cause number 7004) and driving while intoxicated,
third&nbsp;offense (cause number 7036).  See Tex. Penal Code Ann. § 22.02 (West Supp. 2010),
§&nbsp;49.04&nbsp;(West 2003), § 49.09 (West Supp. 2010).  There were plea bargains in both cases.  In
number 7004, the trial court deferred adjudication and placed appellant on community supervision. 
In number 7036, the court adjudged appellant guilty and assessed punishment at five years in prison,
but suspended imposition of sentence and placed appellant on community supervision.

The State subsequently filed motions to adjudicate and to revoke probation.  At a
hearing on the motions, appellant pleaded true to the alleged violations of the conditions of
supervision.  The court adjudged appellant guilty in cause number 7004 and sentenced him to
forty-five years in prison.  The court revoked supervision in cause number 7036 and imposed the
five-year sentence previously assessed.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeals are frivolous and without merit.  The brief meets the requirements
of Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional evaluation of the
record demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the appellate record and to file a pro se brief.  See
Anders, 386 U.S. at 744.  A pro se brief has been filed.

We have reviewed the record and find no reversible error.  See Garner v. State,
300&nbsp;S.W.3d 763, 766 (Tex. Crim. App. 2009); Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim.
App. 2005).  We agree with counsel that the appeal is frivolous.  The issues raised in appellant's
pro&nbsp;se brief have no arguable merit on the present record. (1)  See Garner, 300 S.W.3d at 767; Bledsoe,
178 S.W.3d at 827.  Counsel's motion to withdraw is granted.


The judgment of conviction in cause number 7004 and the order revoking community
supervision in cause number 7036 are affirmed.





				__________________________________________

				Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Affirmed

Filed:   February 3, 2011

Do Not Publish

1.        Appellant's ineffective assistance of counsel claim rests in part on assertions of fact that are
outside the appellate record. 

